UNITED STATES OF AMERICA _

THOMAS EMMANUEL WILLIAMS,

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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

V.
Criminal Action See BS 80 TERED
—— LOGGED _____ RECEIVED

Defendant. JAN 1 6 2025

AT GREENBELT
CLERK, U.S. DISTRICT COURT

VERDICT FORM a AO a eur

As to Count 1, Firearms Trafficking, occurring from on or about January 18, 2023 through
on or about February 3, 2023, how do you find the defendant, Thomas Emmanuel
Williams?

Guilty ¥y Not Guilty

As to Count 2, Possession of Firearms and Ammunition After a Felony Conviction,
occurring on or about January 18, 2023, how do you find the defendant, Thomas Emmanuel
Williams?

Guilty Not Guilty

As to Count 3, Possession of Firearms and Ammunition After a Felony Conviction,
occurring on or about January 20, 2023, how do you find the defendant, Thomas Emmanuel
Williams?

Guilty ¥ Not Guilty

As to Count 4, Unlawful Possession of a Machinegun, occurring on or about January 20,
2023, how do you find the defendant, Thomas Emmanuel Williams?

Guilty Yy Not Guilty
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5. As to Count 5, Distribution of or Possession with Intent to Distribute Controlled
Substances, Oxycodone and Codeine, occurring on or about January 27, 2023, how do you
find the defendant, Thomas Emmanuel Williams?

Guilty VW Not Guilty

Ifyou find the defendant guilty on Count 5, proceed to answer Question 6. If you find the defendant
not guilty on Count 5, do not answer Question 6 and proceed directly to Count 7.

6. As to Count 6, Carrying a Firearm During and in Relation to, or Possessing a Firearm in
Furtherance of, a Drug Trafficking Crime, occurring on or about January 27, 2023, how do
you find the defendant, Thomas Emmanuel Williams?

Guilty Not Guilty

7. As to Count 7, Possession of a Firearm After a Felony Conviction, occurring on or about
January 27, 2023, how do you find the defendant, Thomas Emmanuel Williams? .

Guilty _// Not Guilty

8. As to Count 8, Selling a Firearm in Furtherance of a Felony, occurring on or about January
27, 2023, how do you find the defendant, Thomas Emmanuel Williams?

Guilty Not Guilty

9. As to Count 9, Unlawful Possession of a Machinegun, occurring on or about February 3,
2023, how do you find the defendant, Thomas Emmanuel Williams?

Guilty Vv Not Guilty
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10. As to Count 10, Possession of a Firearm and Ammunition After a Felony Conviction,
occurring on or about February 3, 2023, how do you find the defendant, Thomas Emmanuel
Williams?

Guilty YY Not Guilty

LD. As to Count 11, Distribution of or Possession with Intent to Distribute a Controlled
Substance, Fentanyl, occurring on or about February 3, 2023, how do you find the
defendant, Thomas Emmanuel Williams?

Guilty Not Guilty

If you find the defendant guilty on Count 11, proceed to answer Question 12. If you find the
defendant not guilty on Count 11, do not answer Question 12 and proceed to sign and date the
Verdict Form.

12. As to Count 12, Carrying a Machinegun During and in Relation to, or Possessing a
Machinegun in Furtherance of, a Drug Trafficking Crime, occurring on or about February
3, 2023, how do you find the defendant, Thomas Emmanuel Williams?

Guilty Yo Not Guilty

THE FOREGOING CONSTITUTES THE UNANIMOUS VERDICT OF THE JURY.

Date Forepérson
